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                 U.S. District Court
               Middle District of Florida
                   Tampa Division

              GOVERNMENT EXHIBIT

     Exhibit No.: 305

     Case No.: 8:22-cr-259-WFJ-AEP

     UNITED STATES OF AMERICA

     vs.

     OMALI YESHITELA, ET AL.


     Date Identified:                    __________

     Date Admitted:                   ____________
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Message Date/Time -
UTC+00:00 (yyyy/MM/dd)   Message Direction   Sender               Receiver             Message                                           Translation/Local Media Path
                                                                                       Ох, святая мать, ох, святой отец,                 Oh, holy mother, oh, holy father,
                                                                                       Что ж ты делаешь, Егор? Перекрестись!             What do you think you are doing, Yegor? Cross yourself!
                                                                                       А грозный командир, опричник Егор,                But the formidable commander, oprichnik Yegor,
                                                                                       Кипит на ветру, ухмыляется:                       Seethes in the wind and grins:
                                                                                       «Ах вы дураки, мудачье, позор                     'Oh, you idiots, dumbasses, your shame
                                                                                       Ваш в эту конуру не вмещается.»                   Is too great to fit into this doghouse.'
                                                                                       Верный пес царя грозного Иосифа,                  The fearsome Tsar Iosif's faithful dog, Yegor,
                                                                                       Скачет Егор в счастливую жизнь.                   Rides on into a happy life.
                                                                                       Старое к чертовой сносим мы,                      We dismantle the old, to hell with it,
2018/03/01 11:00:01      Outgoing            Alexander Ionov      Aleksei Sukhodolov   Новая вера рванет — ложись !                      New faith will go oﬀ - hit the dirt!

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2018/03/01 11:05:51      Outgoing            Alexander Ionov      Aleksei Sukhodolov                                                     The Anti-Globalization Movement of Russia
2018/03/01 11:06:10      Outgoing            Alexander Ionov      Aleksei Sukhodolov   Мы вообще не при чем                              We have nothing to do with it whatsoever
2018/03/01 11:06:12      Outgoing            Alexander Ionov      Aleksei Sukhodolov   [Emoji(s)]                                        [Emoji(s)]
2018/03/01 11:06:21      Outgoing            Alexander Ionov      Aleksei Sukhodolov   Они все сами сделали                              They did it all themselves
                                                                                                                                         Domestic policy

                                                                                       Внутренняя политика                               Media/79774917332@s.whatsapp.net/4/e/4e083eb4-b425-4386-91d7-
                                                                                                                                         1d9a44a2e67f.docx
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2018/06/18 19:50:27      Outgoing            Alexander Ionov      Aleksei Sukhodolov   b4-b425-4386-91d7-1d9a44a2e67f.docx           [See attached]
2018/06/18 19:50:46      Outgoing            Alexander Ionov      Aleksei Sukhodolov   Фото круглых столов для примера               Photos of round tables for example.
                                                                                       Кстати, я в позапрошлом отчете писал о пикете By the way, in my penultimate report, I wrote about the joint picketing
2018/06/18 19:51:08      Outgoing            Alexander Ionov      Aleksei Sukhodolov   совместном с РТ                               with RT
2018/06/18 19:51:13      Outgoing            Alexander Ionov      Aleksei Sukhodolov   У посольства Украины                          by the Ukrainian Embassy
                                                                                       Это к слову про то что я ничего не даю, очень
2018/06/18 19:51:29      Outgoing            Alexander Ionov      Aleksei Sukhodolov   даже даю                                      That's regarding me not giving anything. I actually give a lot.
                                                                                       Media/79774917332@s.whatsapp.net/1/9/19d78d Media/79774917332@s.whatsapp.net/1/9/19d78d3b-7cec-4a7b-af90-
                                                                                       3b-7cec-4a7b-af90-3c1adc9ed6d3.jpg            3c1adc9ed6d3.jpg




2018/06/18 19:53:11      Outgoing            Alexander Ionov      Aleksei Sukhodolov
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                                                                                    8-513a-4976-85b3-545feae2d406.jpg            545feae2d406.jpg




2018/06/18 19:53:12   Outgoing            Alexander Ionov      Aleksei Sukhodolov
                                                                                    Media/79774917332@s.whatsapp.net/b/5/b5a0a1 Media/79774917332@s.whatsapp.net/b/5/b5a0a1b6-6ea0-4c1f-a8b5-
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2018/06/18 19:53:13   Outgoing            Alexander Ionov      Aleksei Sukhodolov
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2018/06/18 19:53:14   Outgoing            Alexander Ionov      Aleksei Sukhodolov
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                                                                                    5-2f25-4396-9b68-9cd3afe9bc8f.jpg            9cd3afe9bc8f.jpg




2018/06/18 19:53:15   Outgoing            Alexander Ionov      Aleksei Sukhodolov
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                                                                                    6-ca35-441a-a56c-ca6e1fb76e24.jpg            ca6e1fb76e24.jpg




2018/06/18 19:53:16   Outgoing            Alexander Ionov      Aleksei Sukhodolov
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                                                                                    2f-7755-426c-80d7-40dd5ebf1378.jpg          40dd5ebf1378.jpg




2018/06/18 19:53:17   Outgoing            Alexander Ionov      Aleksei Sukhodolov
2018/06/18 19:53:25   Outgoing            Alexander Ionov      Aleksei Sukhodolov   Это с 24 мая                                 That's from May 24
2018/06/18 19:53:29   Outgoing            Alexander Ionov      Aleksei Sukhodolov   По 10 июня                                   through June 10
2018/06/18 19:53:35   Outgoing            Alexander Ionov      Aleksei Sukhodolov   Мероприятия которые были                     The events that were held
2018/07/01 14:11:06   Outgoing            Alexander Ionov      Aleksei Sukhodolov   Нормально?                                   Is it OK?
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2018/07/01 14:11:36   Incoming            Aleksei Sukhodolov      Alexander Ionov      Ага))                                       Yeah))
2018/07/01 14:11:41   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Егор там что тот                            Yegor, for some reason
2018/07/01 14:11:49   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Обиделся                                    Got upset
2018/07/01 14:11:57   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Совсем                                      Totally
2018/07/01 14:11:58   Incoming            Aleksei Sukhodolov      Alexander Ionov      Пусть покажут клоуна))                      Let them show a clown ))
2018/07/01 14:12:20   Incoming            Aleksei Sukhodolov      Alexander Ionov      Воскресенье. Футбол идёт просто.            It's Sunday. It's just that football [soccer] is on.
2018/07/01 14:22:20   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Я завтра буду звонить тебе                  I'll be calling you tomorrow
2018/07/01 14:25:22   Incoming            Aleksei Sukhodolov      Alexander Ionov      Ок                                          OK
2018/07/01 16:51:47   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Урааааааа!!!!!Россия!!!!!                   Hurraaaaaaah!!!!! Russia!!!!!
2018/07/01 17:03:08   Incoming            Aleksei Sukhodolov      Alexander Ionov      Ура!!!!                                     Hurrah!!!!
                                                                                       Media/79774917332@s.whatsapp.net/4/4/442dde Media/79774917332@s.whatsapp.net/4/4/442dde07-a8ad-4c76-aa47-
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2018/07/08 09:29:57   Outgoing            Alexander Ionov         Aleksei Sukhodolov
2018/07/08 09:30:03   Outgoing            Alexander Ionov         Aleksei Sukhodolov   [Emoji(s)]                                  [Emoji(s)]
2018/07/08 09:30:23   Incoming            Aleksei Sukhodolov      Alexander Ionov      [Emoji(s)]                                  [Emoji(s)]
2018/07/08 09:30:25   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Новые шевроны                               New chevrons
2018/07/08 09:30:32   Outgoing            Alexander Ionov         Aleksei Sukhodolov   [Emoji(s)]
2018/07/08 09:30:40   Incoming            Aleksei Sukhodolov      Alexander Ionov      Забавно                                     Fun stuff
2018/07/08 09:30:46   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Бля                                         Shit
2018/07/08 09:30:53   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Вчера наши проиграли                        Ours lost yesterday
2018/07/08 09:31:03   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Надо объявить траур                         [We] need to declare mourning
2018/07/08 09:31:05   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Три дня                                     Three days
2018/07/08 09:31:07   Incoming            Aleksei Sukhodolov      Alexander Ionov      Хер с ними                                  Fuck them
2018/07/08 09:31:11   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Злой ты                                     You are evil
2018/07/08 09:31:14   Outgoing            Alexander Ionov         Aleksei Sukhodolov   ♂                                           ♂
                                                                                       Media/79774917332@s.whatsapp.net/9/4/9467ba Media/79774917332@s.whatsapp.net/9/4/9467bac2-3f3b-484e-9bc1-
                                                                                       c2-3f3b-484e-9bc1-e88b6a9baf07.jpg          e88b6a9baf07.jpg




2018/07/08 09:31:22   Outgoing            Alexander Ionov         Aleksei Sukhodolov
2018/07/08 09:31:48   Incoming            Aleksei Sukhodolov      Alexander Ionov      Из-за этого футбола я на работе             I'm at work because of this soccer [football].
2018/07/08 09:31:55   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Ах ахахх                                    Hahaha
2018/07/08 09:31:59   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Так тебе и надо                             It serves you right
2018/09/26 16:15:15   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Кстати                                      By the way
2018/09/26 16:15:25   Outgoing            Alexander Ionov         Aleksei Sukhodolov   В октябре у нас юбилей                      It's our anniversary in October
2018/09/26 16:15:29   Outgoing            Alexander Ionov         Aleksei Sukhodolov   5 лет                                       Five years
2018/09/26 16:15:31   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Работы                                      of being in business
2018/09/26 16:15:35   Outgoing            Alexander Ionov         Aleksei Sukhodolov   [Emoji(s)]                                  [Emoji(s)]
2018/09/26 16:16:07   Incoming            Aleksei Sukhodolov      Alexander Ionov      Круто! Надо отметить                        Cool! We have to celebrate!
2018/09/26 16:16:11   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Да!                                         Yes!
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                                                                                       prokommentiroval-davlenie-na-serbiyu-so-storony-
                                                                                       zapada




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                                                                                                                                          serbiyu-so-storony-zapada [https://politexpert.net/149058-ionov-
                                                                                                                                          commented on-pressure- on-Serbia-from-the West]
2019/04/19 12:33:17   Outgoing            Alexander Ionov         Aleksei Sukhodolov
2019/04/19 16:49:08   Incoming            Aleksei Sukhodolov      Alexander Ionov      45...                                              45…
2019/04/19 16:49:19   Outgoing            Alexander Ionov         Aleksei Sukhodolov   Что такое 45                                       What is 45
2019/04/19 16:49:58   Incoming            Aleksei Sukhodolov      Alexander Ionov      Лет. Баба ягодка опять                             Years old. The woman is as fresh as a berry again.
